






NO. 07-06-0361-CR


					       07-06-0362-CR

					       07-06-0363-CR

					       07-06-0364-CR

					       07-06-0365-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 8, 2007


______________________________



MICHAEL CODY WILLIAMS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. B14449-0205; B14470-0205; A14595-0208; A14596-0208; A14597-0208;



HONORABLE ED SELF, JUDGE


_______________________________




Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION


	In a consolidated appeal, Michael Cody Williams, appellant, appeals orders revoking
his community supervision in five cases.  Appellant entered a plea of guilty without a plea
bargain in each case and was placed on community supervision in each case. 
Subsequently, the State filed motions to revoke community supervision alleging that
appellant had violated the terms and conditions of his community supervision.  The trial
court found that appellant had violated his community supervision and revoked the orders
placing appellant on community supervision.  The trial court assessed a term of
confinement in the Institutional Division of the Texas Department of Criminal Justice on
each case, all periods of confinement to run concurrently.  We affirm.

	Appellant's attorney has filed an Anders brief and a motion to withdraw.  Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967).  In support of his motion
to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion,
the record reflects no reversible error upon which an appeal can be predicated.  Id. at 744-45.  In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel
has candidly discussed why, under the controlling authorities, there is no error in the trial
court's judgment.  Additionally, counsel has certified that he has provided appellant a copy
of the Anders brief and motion to withdraw and appropriately advised appellant of his right
to file a pro se response in this matter.  Stafford v. State, 813 S.W.2d 503, 510
(Tex.Crim.App. 1991).  The court has also advised appellant of his right to file a pro se
response.  Appellant has not favored us with a response.  

	By his Anders brief, counsel raises a ground that could possibly support an appeal,
but concludes the appeal is frivolous.  We have reviewed this ground and made an
independent review of the entire record to determine whether there are any arguable
grounds which might support an appeal.  See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346,
102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App. 2005).  We
have found no such arguable grounds and agree with counsel that the appeal is frivolous.

	Accordingly, counsel's motion to withdraw is hereby granted and the trial court's
orders are affirmed.


							Mackey K. Hancock

							         Justice

		


Do not publish.  






cuments
previously filed by appellant acting pro se to the trial court, the State's attorney for the
287th District Court and to current appellate counsel for appellant. 

	

							Per Curiam

Do not publish.


